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United States District Court

Southern District of Florida
FT. LAUDERDALE DIVISION

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. Case Number - 0:10CR60290-COHN-I
ANTHONY MELLONE

USM Number: 94597-004

Counsel For Defendant: CHRISTINE O’CONNOR
Counsel For The United States: RYAN O’QUINN
Court Reporter: CARL SCHANZLEH

 

The defendant pleaded guilty to Count(s) 1 of the Information.
The defendant is adjudicated guilty of the following offense(s):

TITLE/SECTION NATURE OF
NUMBER OFFENSE OFFENSE ENDED COUNT
18 U.S.C. 371 Conspiracy to commit 3/31/2009 ]

securities fraud

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
circumstances.

   
  
 

Osition of Sentence:

 

United Stgtes District Judge

ebruary 15, 2011

 
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DEFENDANT: ANTHONY MELLONE |
CASE NUMBER: 0:10CR60290-COHN-1 :

IMPRISONMENT

 

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term
of 30 MONTHS.

The Court makes the following recommendations to the Bureau of Prisons:

 

THE DEFENDANT BE ALLOWED TO PARTICIPATE IN THE 500 HOUR DRUG TREATMENT PROGRAM.
THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE CENTRAL DISTRICT OF CALIFORNIA.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons before
2:00 P.M. on April 15, 2011, as notified by the United States Marshal.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

 

Deputy U.S. Marshal

 
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DEFENDANT: ANTHONY MELLONE
CASE NUMBER: 0:10CR60290-COHN-1

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 YEARS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shali not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.
If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance

with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

lL. the defendant shall! not leave the judicial district without the permission of the court or probation officer;

2 the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;

3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4, the defendant shall support his or her dependents and meet other family responsibilities;

5. the defendant shal! work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
reasons;

6. the defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
unless granted permission to do so by the probation officer;

10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shal! permit confiscation of any
contraband observed in plain view by the probation officer;

11. the defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement officer;

12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
of the court; and

13. as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record

or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.

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DEFENDANT: ANTHONY MELLONE
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SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

Employment Solicitation Restriction - The defendant shall not be engaged in any business that offers securities, investments,
or business opportunities to the public. The defendant is further prohibited from engaging in telemarketing, direct mail, or national
advertising campaigns for business purposes without the permission of the Court.

Mental Health Treatment- The defendant shall participate in an approved inpatient/outpatient mental health treatment program.
The defendant will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third party

payment.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable manner and
at a reasonable time by the U.S. Probation Officer.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering into any self-
employment.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or alcohol abuse
and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment. The defendant
will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third party payment.

NO INVOLVEMENT IN PENNY STOCK TRADING DURING THE PERIOD OF SUPERVISION.

 

 

 
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DEFENDANT: ANTHONY MELLONE
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
Payments sheet.

Total Assessment Total Fine Total Restitution

$100.00 $ $

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
or after September 13, 1994, but before April 23, 1996.

 

 

 
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DEFENDANT: ANTHONY MELLONE
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A. Lump sum payment of $100.00 due immediately, balance due

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK’S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 8N09
MIAMI, FLORIDA 33128-7716

The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
Attorney’s Office are responsible for the enforcement of this order.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.

 
